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                               UNITED STATES DISTRICT COURT
                                 DISTRICT OF CONNECTICUT

                                                      )
UNITED STATES OF AMERICA,                             )
                                                      ) CRIM NO. 3:15-CR-155 (RNC)
                                                      )
                         vs.                          )
                                                      )
                                                      ) July 25, 2016
ROSS SHAPIRO, MICHAEL GRAMINS, AND                    )
TYLER P ETERS.                                        )
                                                      )


       Defendants Ross Shapiro, Michael Gramins, and Tyler Peters respectfully submit this

Opposition to the Government’s Motion in Limine to Preclude Evidence or Argument Blaming

Victims (the “Motion”). For the reasons set forth herein, the Motion should be denied.

                                        INTRODUCTION

       Defendants do not seek to “blame the victims.” Contrary to the Government’s suggestion,

Defendants do not intend to portray the alleged “victims” here as gullible rubes, and in fact

Defendants could not do so if they wanted to. Indeed, the trading counterparties alleged to be

victims in this case consist of some of the most sophisticated hedge funds and investment firms in

the world in the market for residential mortgage backed securities (“RMBS”). Similarly, the

traders at the alleged victim firms – all well-credentialed and experienced professionals – were not

gullible either, and Defendants believe the evidence at trial will show that the traders who

negotiated the transactions at issue in the Indictment did so with the benefit of sophisticated

financial modeling, market research, and a skilled ability to effectively negotiate the transactions

to which they were parties.




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       Defendants do, however, intend to offer a materiality defense. It is well-settled, and

undisputed, that materiality is determined by an objective standard; thus, the defense may assert

that the alleged misstatements at issue in this case would not be material to a reasonable participant

in the RMBS market. Defs.’ Expert Notice at 10, June 27, 2016, ECF No. 165-2. The Government

intends to offer the testimony of the alleged victims as a proxy for that reasonable investor. To

rebut that testimony, Defendants must be permitted to (i) offer expert testimony as to what the

reasonable investor would consider material to the investment decision and (ii) highlight the ways,

if any, in which the alleged victims’ testimony is inconsistent with the conduct of the objective,

reasonable investor. Such testimony was expressly contemplated by the Second Circuit in United

States v. Litvak, 808 F.3d 160, 183 (2d Cir. 2015), and is relevant to and probative of the central

issues in this case. Accordingly, the Government’s Motion should be denied because it would

improperly bar Defendants’ materiality defense and run afoul of the Second Circuit’s instructions

in Litvak.

                                            ARGUMENT

       The “question of materiality, it is universally agreed, is an objective one, involving the

significance of an omitted or misrepresented fact to a reasonable investor.” TSC Indus., Inc. v.

Northway, Inc., 426 U.S. 438, 445 (1976) (emphasis added). The United States Supreme Court

has instructed that information is material if there is a “substantial likelihood that the disclosure of

the omitted fact would have been viewed by the reasonable investor as having significantly altered

the ‘total mix’ of information made available.” Basic v. Levinson, 485 U.S. 224, 231-32 (1998)

(citing TSC Indus., Inc., 426 U.S. at 449). Where, as here, “the market” is one dominated by highly

sophisticated investors, the jury must view materiality from the perspective of a reasonable and

sophisticated investor in the RMBS market, not investors at large. See, e.g., S.E.C. v. Rorech, 720



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F. Supp. 2d 367, 372 (S.D.N.Y. 2010) (“SEC has failed to prove that either piece of alleged

information was material” because “these two pieces of information were not considered material

to reasonable investors in VNU CDSs,” whom the Court noted were “sophisticated high yield bond

buyers”); In re WorldCom, Inc. Sec. Litig., No. 02-Civ.-3288 (DLC), 2005 WL 408137, at *4

(S.D.N.Y. Feb. 22, 2005) (“[T]he ‘reasonable investor’ is equivalent to the market itself.”)

(quoting In re ICN/Viratek Sec. Litig., No. 87-Civ.-4296 (S.D.N.Y. July 15, 1996)).

         It is apparent that the Government intends to prove the materiality of the alleged

misstatements in this case by adducing testimony from the alleged victims – all traders at the

investment funds with whom Defendants’ transacted – that these misstatements (none of which

related to the nature, quality, performance, or characteristics of the securities themselves) were

“important” to them. Indeed, this is precisely the testimony the Government adduced in Litvak.

See, e.g., Trial Tr. 877:15-19 (Q: “[W]ould that be important to you? A: Yes.”); Trial Tr. 944:20-

23 (Q: “[W]ould that have been important for you? A: Yes.”); Trial Tr. 1199:13-16 (“Q: Would it

have been important for you to know that . . . ? A: Yes.”).1 Defendants further expect that the

Government will adduce from some alleged victims testimony to suggest that these

misrepresentations were particularly important, in light of a perceived “agency” relationship

between the trader and Defendants.2 This too, was the Government’s approach in Litvak. See,

e.g., Trial Tr. 943:11-944:3 (“Are you familiar with the distinction between trading as an agent

and trading as a principal? . . . So in effect which is Mr. Litvak in this trade?”). The Government



1The Court of Appeals’ opinion in United States v. Litvak, 808 F.3d 160 (2d Cir. 2015) is cited throughout as “Litvak.”
The trial transcript from the original trial proceedings that case is cited as “Trial Tr.”

2Defendants have moved in limine to preclude such testimony concerning agency in light of the fact that it is
undisputed that all trades at issue in this case were conducted strictly on a principal-to-principal basis. See Defs.’
Motion in Limine to Exclude Evidence that Defendants Acted as Agents or Brokers or Owed Any Agency Duties to
Counterparties, July 8, 2016, ECF No. 164.



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will argue that these alleged victims are representative of a “reasonable investor” in the RMBS

market and as such, the jury should adduce that the alleged misstatements at issue were, in fact,

material.

       It is precisely this argument that Defendants must be permitted to rebut. Litvak, 808 F.3d

at 183 (defendants should be permitted to offer evidence to “counter the government’s argument

that a reasonable investor would have found [the defendants’] statements material.”). To do, so,

defendants must be able to do, inter alia, two things:

       First, Defendants must be able to offer expert testimony to explain that the

misrepresentations at issue would not have significantly altered the total mix of information to a

reasonable investor in the RMBS market. See Litvak, 808 F.3d at 183 (“Aside from [expert]

testimony in respect of the nature of the RMBS market, there are few ways in which Litvak could

put forth evidence to rebut the alleged victims’ testimony that Litvak’s misstatements were

important to them, or otherwise counter the government’s argument that a reasonable investor

would have found Litvak’s statements material.”). Thus, Defendants’ experts must be able to

testify as to the investment decision-making approach of a reasonable investor in the market,

including what a reasonable investor would have done in determining what price to agree to pay

for any particular bond. This includes, among other things, that a reasonable investor would have

sought price information from other dealers (in addition to relying on their own, highly-

sophisticated pricing models and other analytics), and that a reasonable investor would have known

that all trading with Defendants was done strictly on a principal-to-principal basis. As the Second

Circuit noted, if such testimony were precluded, the defendant “would be left only with the

‘victims’ of his conduct as sources of potential testimony on the issue, an odd limitation where the




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jury is to evaluate materiality in an objective manner.” Litvak, 808 F.3d at 183-84 (citing Amgen

Inc. v. Conn. Ret. Plans & Trust Funds, 133 S.Ct. 1184, 1191 (2013)).

         Second, Defendants must be permitted to cross-examine the alleged victims as to what they

did and did not do in connection with their investment decision. This includes, among other things,

(i) the steps taken and tools utilized to determine the value of the bonds at issue and (ii) steps the

alleged victims did and did not take to evaluate the veracity of pricing information provided by the

Defendants. Only by doing so can Defendants effectively compare and contrast these alleged

victims with the objective reasonable investor in the relevant market, and rebut the government’s

contention that the alleged victims are a proxy for that objective reasonable investor. See Litvak,

808 F.3d at 183.

         None of this testimony would seek to “blame the victim.” 3 On the contrary, Defendants

seek to introduce this evidence in a manner consistent with Litvak, to “counter the government’s

argument that a reasonable investor would have found [their] statements material.” Litvak, 808

F.3d at 183. This evidence is highly relevant to and probative of materiality, an element of the

charged offenses. The Government’s efforts to interfere with that defense should be rejected, and

its motion denied.




3 The Government’s authority – virtually all of which stands for the unremarkable and undisputed proposition that a
victim’s negligence is not a defense to criminal conduct – is thus inapposite. See United States v. Isola, 548 F. App’x
723, 725 (2d Cir. 2013); United States v. Rogan, 517 F.3d 449, 452 (7th Cir. 2008); United States v. Amico, 486 F.3d
764, 780 (2d Cir. 2007); United States v. Callipari, 368 F.3d 22, 37 (1st Cir. 2004); United States v. Davis, 226 F.3d
346, 358-59 (5th Cir. 2000); United States v. Ciccone, 219 F.3d 1078, 1083 (9th Cir. 2000); United States v.
Biesiadecki, 933 F.2d 539, 544 (7th Cir. 1991); United States v. Maxwell, 920 F.2d 1028, 1036 (D.C. Cir. 1990);
United States v. Brien, 617 F.2d 299, 311 (1st Cir. 1980); United States v. Kreimer, 609 F.2d 126, 132 (5th Cir. 1980);
Linden v. United States, 254 F.2d 560, 567-68 (4th Cir. 1958). These cases have no bearing on the evidence sought
to be introduced by Defendants in conjunction with their materiality defense.



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                                         CONCLUSION

       For the foregoing reasons, Defendants Ross Shapiro, Michael Gramins, and Tyler Peters

respectfully request that the Court deny the Government’s Motion in Limine pursuant to Rules 401

and 403 of the Federal Rules of Evidence.



July 25, 2016

                                    Respectfully submitted,

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                                  CERTIFICATE OF SERVICE


       I hereby certify that on this 25th day of July, 2016, a copy of the foregoing Defendants’

Opposition to Motion in Limine to Preclude Evidence or Argument Blaming Victims was

uploaded to and filed with the CM/ECF System for the United States District Court for the

District of Connecticut, with a courtesy copy delivered via e-mail to the following counsel:

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